Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 1 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 2 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 3 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 4 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 5 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 6 of 7
Case 3:15-cr-00013-RCJ-WGC   Document 207   Filed 01/04/17   Page 7 of 7
